      Case 18-14948-JDW       Doc 58    Filed 10/01/19 Entered 10/01/19 10:01:33            Desc Main
                                        Document Page 1 of 1


       _________________________________________________________________________________

                                                       SO ORDERED,



                                                       Judge Jason D. Woodard
                                                       United States Bankruptcy Judge


              The Order of the Court is set forth below. The case docket reflects the date entered.
       ________________________________________________________________________________

                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                           THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                   CHAPTER 13 CASE NO.:
                    JAMIE W. WREN                                                      18-14948-JDW

ORDER RELEASING ORDER DIRECTING EMPLOYER TO WITHHOLD DEDUCTIONS FROM PAY AND
                   DIRECTING PAYMENT TO CHAPTER 13 TRUSTEE



       The Court has been advised by the Chapter 13 Trustee that the wage order issued to                 ITS

TECHNOLOGIES should be released.

       IT IS, THEREFORE, ORDERED, that the Debtor’s former employer, ITS TECHNOLOGIES, 8205 S

CASS AVENUE, SYITE 115, GARNISHMENTS, DARIAN, IL                        60561,     is hereby directed to cease

deductions from the Debtor’s wages and remit any funds presently held to the Chapter 13 Trustee at Locke D.

Barkley , Chapter 13 Trustee, P.O. Box 1859 , Memphis , TN, 38101-1859.


                                          ##END OF ORDER##
